                        Case 2:14-cr-01046-WJ Document 24 Filed 09/04/14 Page 1 of 5
AO 245B (Rev 12/10) Criminal Judgment Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                         District of New Mexico
                                                                      
                  UNITED STATES OF AMERICA                            Judgment in a Criminal Case
                             V.
                        Jorge Jose Cardoza                            (For Offenses Committed On or After November 1, 1987)
                                                                      Case Number: 2:14CR01046-002SWS
                                                                      USM Number: 76500-051
                                                                      Defense Attorney: Charles McElhinney (Appointed)
THE DEFENDANT:
                                                                  
c    pleaded guilty to count(s) Information
d    pleaded nolo contendere to count(s) which was accepted by the court.
d    after a plea of not guilty was found guilty on count(s)
                                                                  
The defendant is adjudicated guilty of these offenses:
                                                                  
Title and Section Nature of Offense                                                        Offense Ended              Count
                                                                                                                      Number(s)
18 U.S.C.         Felon in Possession of a Firearm                                         02/03/2014                  
Secs. 922(g)(1)                                                                             
and 924(a)(2)
 
The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
                                                                         
d    The defendant has been found not guilty on count .
d    Count dismissed on the motion of the United States.
                                                                         
IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                         
                                                                        08/26/2014
                                                                         Date of Imposition of Judgment
                                                                       
                                                                      /s/ Scott W. Skavdahl
                                                                      Signature of Judge
                                                                       
                                                                      Scott W. Skavdahl
                                                                      United States District Judge
                                                                      Name and Title of Judge
                                                                       
                                                                      09/04/2014
                                                                      Date Signed
 
                        Case 2:14-cr-01046-WJ Document 24 Filed 09/04/14 Page 2 of 5
AO 245B (Rev. 12/10) Sheet 2 - Imprisonment                                                                         Judgment - Page 2 of 5

                                                                   
Defendant: Jorge Jose Cardoza                                      
Case Number: 2:14CR01046-002SWS
                                                              
                                                       IMPRISONMENT
                                                              
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 27 months.
                                                                     
                                                                     
c     The court makes the following recommendations to the Bureau of Prisons:
                                                                     
      Phoenix Federal Correctional Institution, Phoenix, Arizona, if eligible
                                                                     
c     The defendant is remanded to the custody of the United States Marshal.
d     The defendant shall surrender to the United States Marshal for this district:
      d    at on
      d    as notified by the United States Marshal.
d     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      d    before 2 p.m. on
      d    as notified by the United States Marshal
      d    as notified by the Probation or Pretrial Services Office.
                                                                 
                                                             RETURN
                                                                 
I have executed this judgment as follows:
 
  
 
Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a Certified copy of this judgment.
                                                                   
                                                                   
                                                                   
                                                                   UNITED STATES MARSHAL
                                                                   
                                                                    By
                                                                   DEPUTY UNITED STATES MARSHAL
 
                         Case 2:14-cr-01046-WJ Document 24 Filed 09/04/14 Page 3 of 5
AO 245B (Rev. 12/10) - Sheet 3 - Supervised Release                                                                                      Judgment - Page 3 of 5

                                                                               
Defendant: Jorge Jose Cardoza                                                  
Case Number: 2:14CR01046-002SWS
                                                                     
                                                           SUPERVISED RELEASE
                                                                     
Upon release from imprisonment, the defendant shall be on supervised release for a term of 2 years .
                                                                                  
The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.
                                                                                  
d        The  above  drug testing condition  is suspended, based   on the court's  determination that the defendant poses a low risk of future substance abuse.
         (Check, if applicable.)
c        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable).
c        The defendant shall cooperate in the collection of DNA as directed by statute. (Check, if applicable).
d        The defendant shall register with the state, local, tribal and/or other appropriate sex offender registration agency in the state where the defendant
         resides, works, or is a student, as directed by the probation officer. (Check, if applicable.)
d        The defendant shall participate in an approved program for domestic violence. (Check, if applicable)
                                                                                  
If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Criminal Monetary
Penalties sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached
page.
 
                                                      STANDARD CONDITIONS OF SUPERVISION
                                                                                  
1)       the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)       the defendant shall report to the probation officer in a manner and frequency directed by the Court or probation officer;
3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)       the defendant shall support his or her dependents and meet other family responsibilities;
5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
         or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)       the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
         unless granted permission to do so by the probation officer;
10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
 
                        Case 2:14-cr-01046-WJ Document 24 Filed 09/04/14 Page 4 of 5
AO 245B (Rev. 12/10) Sheet 3                                                                Judgment - Page 4 of 5

                                                       
Defendant: Jorge Jose Cardoza                                                                                     
Case Number: 2:14CR01046-002SWS
                                                      
                             SPECIAL CONDITIONS OF SUPERVISION
                                                      
The defendant must participate in an educational or vocational program as approved by the probation
officer.
 
The defendant must submit to a search of his person, property, or automobile under his control to be
conducted in a reasonable manner and at a reasonable time, for the purpose of detecting illegal narcotics,
firearms, and other dangerous weapons at the direction of the probation officer. He must inform any
residents that the premises may be subject to a search.
 
 
                         Case 2:14-cr-01046-WJ Document 24 Filed 09/04/14 Page 5 of 5
AO 245B (Rev.12/10) Sheet 5, Part A - Criminal Monetary Penalties                                                        Judgment - Page 5 of 5

                                                                       
Defendant: Jorge Jose Cardoza                                          
Case Number: 2:14CR01046-002SWS
                                                                
                                                 CRIMINAL MONETARY PENALTIES
                                                               
The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments.
d        The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                     Assessment                           Fine                         Restitution
                                              $100.00                             $                                 $
               
                                                         SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A       c    In full immediately; or
B       d    $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).
               
Special instructions regarding the payment of criminal monetary penalties:Criminal monetary penalties are to be made payable
by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico
87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case number and type of
payment.
               
               
Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments, except
those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by the court,
the probation officer, or the United States attorney.
